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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   In Re: COOK MEDICAL, INC., IVC FILTERS                            Case No. 1:14-ml-2570-RLY-TAB
   MARKETING, SALES PRACTICES AND                                                  MDL No. 2570
   PRODUCTS LIABILITY LITIGATION


   This Document Relates to:
   David McDermitt and Carol McDermitt, 1:18-cv-00946


                              STIPULATION TO APPLY INDIANA LAW
                                TO MCDERMITT V. COOK INC. ET AL.

            At the January 14, 2020 MDL status conference before this Court, the parties noted that

   there was uncertainty in which substantive law would apply to McDermitt v. Cook Inc., et al., 1:18-

   cv-00946. The Court ordered the parties to brief the issue on or before January 31, 2020 so the

   choice of law issue could be resolved ahead of the filing deadline for dispositive motions.

            The parties, each having independently evaluated the facts of this case and the applicable

   law, agree that Indiana law is the appropriate body of law to apply in this case. Accordingly, in

   the interest of certainty for motion and trial practice in this matter, the parties by and through the

   undersigned counsel hereby stipulate that Indiana law applies to and governs McDermitt.

    Respectfully submitted,

    By: /s/ Stuart L. Goldenberg___                            /s/ Andrea Roberts Pierson
    Stuart L. Goldenberg                                       Andrea Roberts Pierson
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    Counsel for Plaintiffs David McDermitt and                 Counsel for Defendants Cook Incorporated, Cook
    Carol McDermitt                                            Medical LLC, and William Cook Europe APS

    Dated: January 29, 2020                                    Dated: January 29, 2020
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on January 29, 2020, I electronically filed the foregoing document

   with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

   the CM/ECF participants registered to receive service in this MDL.



                                                          By: /s/ Andrea Roberts Pierson
                                                                  Andrea Roberts Pierson




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